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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )            8:05CR251
                       Plaintiff,                      )
                                                       )
       vs.                                             )           REPORT AND
                                                       )
MARY MOLER-CUBILLOS,                                   )       RECOMMENDATION
                                                       )
                       Defendant.                      )


       On September 7, 2005, defendant Mary Moler-Cubillos (Moler-Cubillos), together with
her counsel, John J. Velasquez, appeared before the undersigned magistrate judge, waived
indictment, and consented to the filing of the Information herein. Moler-Cubillos was advised
of the charge, the penalties, and the right to appear before a United States District Judge.
After orally consenting to proceed before a magistrate judge, Moler-Cubillos entered a plea
of guilty to Count I of the Information.
       After being sworn, Moler-Cubillos was orally examined by the undersigned magistrate
judge in open court as required by Federal Rule of Criminal Procedure 11. Moler-Cubillos
also was given the advice required by that Rule. Finally, Moler-Cubillos was given a full
opportunity to address the court and ask questions.
       Counsel for the government and counsel for Moler-Cubillos were given the opportunity
to suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was a
factual basis for Moler-Cubillos’s plea of guilty to Count I of the Information.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and voluntary;
(2) there is a factual basis for the plea; (3) the provisions of Rule 11 and any other provisions
of the law governing the submission of guilty pleas have been complied with; (4) a petition to
enter a plea of guilty, on a form approved by the court, was completed by Moler-Cubillos,
Moler-Cubillos’s counsel and counsel for the government, and such petition was placed in the
court file (Filing No. 33); (5) the plea agreement is in writing and is filed in the court file (Filing
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No. 34); (6) there were no agreements or stipulations other than those contained in the written
plea agreement.


        IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
        1.     She accept the guilty plea and find the defendant, Mary Moler-Cubillos, guilty
of the crime set forth in Count I of the Information to which Moler-Cubillos tendered a guilty
plea;
        2.     Since the plea agreement contains a provision under Fed. R. Crim. P.
11(c)(1)(C), she not accept the written plea agreement at this time but reserve acceptance
until the time of sentencing.


                                          ADMONITION
        Pursuant to NECrim 57.3 any objection to this Report and Recommendation shall be
filed with the Clerk of the Court within ten (10) days after being served with a copy of this
Report and Recommendation. Failure to timely object may constitute a waiver of any such
objection. The brief in support of any objection shall be filed at the time of filing such objection.
Failure to file a brief in support of any objection may be deemed an abandonment of the
objection.
        DATED this 7th day of September, 2005.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge




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